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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                                  NORTHERN DISTRICT OF CALIFORNIA

                                   5

                                   6     CHASOM BROWN, et al.,                             Case No. 20-cv-03664-LHK (SVK)
                                   7                    Plaintiffs,                        Case No. 20-cv-5145-LHK (SVK)
                                   8               v.
                                                                                           ORDER RE NOVEMBER 4, 2021
                                   9     GOOGLE LLC,                                       HEARING ON OBJECTIONS TO
                                                                                           SPECIAL MASTER REPORT
                                  10               Defendant.
                                         PATRICK CALHOUN, et al.,
                                  11
                                                        Plaintiffs,
                                  12
Northern District of California
 United States District Court




                                                        v.
                                  13
                                         GOOGLE LLC,
                                  14
                                                        Defendant.
                                  15

                                  16          Regarding the hearing on November 4, 2021, the Court will call the Brown matter first,
                                  17   followed by the Calhoun matter. Each side in each of the above actions will have a total of 25
                                  18   minutes to present their objections to the Special Master Report and to respond to objections by
                                  19   their opponent. A party may use all of their time at once or may reserve time to follow their
                                  20   opponent.
                                  21          The courtroom is equipped to display documents in either hard copy or electronic form.
                                  22   Demonstratives are to be provided to opposing counsel and emailed to the Court Room Deputy no
                                  23   later than 5 p.m. on November 3, 2021.
                                  24          SO ORDERED.
                                  25   Dated: November 2, 2021
                                  26
                                  27
                                                                                                   SUSAN VAN KEULEN
                                  28                                                               United States Magistrate Judge
